                        IN THE UNITED
               Case 2:09-mj-01253     STATES
                                  Document 4 DISTRICT  COURT
                                             Filed 08/04/09 Page 1 of 1
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                  BAIL STATUS AND ORDER

        INTERPRETER NEEDED                        :      REMOVAL - MIDDLE DISTRICT
                                                         OF GEORGIA
                                                         August 3, 2009
                                                  :      ESR OPERATOR: S. Malloy

UNITED STATES OF AMERICA                          :      AUSA Mary Kay Costello

          v.                                      :      Mag. No: 09-1253-M

MAURICE KEVIN HILL                                :      Mara Meehan
                                                  :      [] CJA Appointed
                                                         [] Retained
                                                         [X] Defenders' Assn. Apptd.

After hearing held this day pursuant to the Federal Rules of Criminal Procedure, or after hearing
pursuant to government's motion, the bail status as to the above-named defendant is as follows:

                [] Defense Motion for a continuance is Granted. A detention hearing is scheduled
for .

                [] The Defendant stipulated to [] probable cause and/or [] pretrial detention.

             [] The Government's Motion for Pretrial Detention is Granted.
The Defendant is detained pending further proceedings.

              [] The Government's Motion for Pretrial Detention is Denied. See attached
Conditions of Release Order.

              [] The Government and Defense have agreed to conditions of release. See
attached Conditions of Release Order.

               [X] Other - Court orders Defendant detained pending removal to the Middle
District of Georgia.

[] AFTER A HEARING, PROBABLE CAUSE WAS FOUND BY THE COURT.
[] PLEA: NOT GUILTY TO ALL COUNT(S). Counsel have 10 days to file pretrial motions.

                                                  BY:

                                                  /s/ Carol Sandra Moore Wells
                                                  CAROL SANDRA MOORE WELLS
                                                  UNITED STATES MAGISTRATE JUDGE

TIME IN COURT 12 MINUTES
(Form Revised December, 2007)
